      Case 5:24-cv-00717-OLG-HJB         Document 51       Filed 02/25/25     Page 1 of 5




                          UNITED STATES DISTRICT COURT
                           WESTERN DISTRICT OF TEXAS
                              SAN ANTONIO DIVISION

 LOGAN PAUL                                    §
                                               §
         Plaintiff,                            §
                                               §
 v.                                            §
                                               §
 STEPHEN FINDEISEN and COFFEE                  §
 BREAK PRODUCTIONS, LLC,                       §
                                               §      Civil Action No. 5:24-CV-00717
         Defendants.                           §
                                               §

        DEFENDANTS’ OPPOSED MOTION FOR EXPEDITED HEARING ON
      DEFENDANTS’ MOTION TO STAY DISCOVERY PENDING A RULING ON
            THEIR MOTION FOR JUDGMENT ON THE PLEADINGS

TO THE HONORABLE COURT:

        Defendants Stephen Findeisen and Coffee Break Productions, LLC (collectively,

“Coffeezilla”) bring this Motion for Expedited Hearing on their Motion to Stay Discovery

(ECF No. 46) pending a ruling on their Motion for Judgment on the Pleadings (ECF No. 41),

and in support respectfully show:

                                      BACKGROUND

        Several discovery-related and non-dispositive motions filed by Plaintiff Logan Paul are

currently pending before the Court. See ECF Nos. 26, 36, 42.

        The Court set a motion hearing for 1:30 p.m. on March 24, 2025, during which it

intends to consider the motions. See Text Order of February 5, 2025 (setting hearing to

consider ECF No. 26); ECF No. 38 (adding ECF No. 36 to hearing); and ECF No. 47 (adding

ECF Nos. 42 and 46 to the hearing).
    Case 5:24-cv-00717-OLG-HJB           Document 51       Filed 02/25/25    Page 2 of 5




       Coffeezilla filed a Motion for Judgment on the Pleadings (ECF No. 41) and

subsequently filed a Motion to Stay Discovery (ECF No. 46) pending the Court’s ruling on

its Motion for Judgment on the Pleadings.

       The Court added Coffeezilla’s Motion to Stay Discovery to the hearing it previously

set on Plaintiff’s motions for March 24, 2025. See ECF No. 47. Unfortunately, the Court’s

consideration of Coffeezilla’s Motion to Stay on March 24, 2025 will come after several

previously scheduled, costly discovery matters.

       As indicated in Coffeezilla’s Motion to Stay, the parties have scheduled depositions of

non-parties for March 7, 2025 (in New Jersey) and March 18, 2025 (in Ohio), which will

require counsel and the parties to incur substantial fees and costs in preparation and travel.

Coffeezilla’s expert reports are due on March 18, 2025. Additionally, because a discovery-

related motion is set on the same day as the Motion to Stay, the parties (and the Court) will

have to spend resources preparing for a hearing that will be rendered wholly unnecessary if

the Court grants Coffeezilla’s Motion for Judgment on the Pleadings.

       Accordingly, the best use of the parties’ and the Court’s judicial resources is to defer

ruling on the discoverability of Defendants’ constitutionally and statutorily protected

communications and to abate all discovery and discovery-related hearings until after the

Court has determined whether Paul’s case will survive the Motion for Judgment on the

Pleadings.

       Given the timing of the parties’ previously scheduled discovery, Coffeezilla

respectfully requests the Court schedule, on an expedited basis, a hearing to consider its

Motion to Stay, ideally this week or early next week before the scheduled out-of-town




                                              2
    Case 5:24-cv-00717-OLG-HJB           Document 51      Filed 02/25/25     Page 3 of 5




deposition on March 7, 2025. Coffeezilla would be amenable to a zoom hearing if that would

be most convenient for the Court.

       Coffeezilla brings this request in the interest of judicial economy and not for the

purpose of delay.

       Paul would not be prejudiced by an expedited setting because he already responded to

Coffeezilla’s Motion to Stay Discovery. See ECF No. 49. Furthermore, because the Motion

for Judgment on the Pleadings will be fully briefed in three weeks, any delay caused by a stay

will be minimal and certainly not prejudicial to Paul.

                                    REQUESTED RELIEF

       For these reasons, Defendants respectfully request the Court grant this motion and

schedule an expedited hearing to consider Defendants’ Motion to Stay Discovery, ideally this

week or early next week before March 7, 2025. Defendants further request all other relief at

law or in equity to which they are entitled.

Dated: February 25, 2025.

                                                   Respectfully submitted,

                                                   DAVIS & SANTOS, PLLC


                                               By: /s/Caroline Newman Small
                                                  Jason M. Davis
                                                  Texas State Bar No. 00793592
                                                  E-mail: jdavis@dslawpc.com
                                                  Caroline Newman Small
                                                  Texas State Bar No. 24056037
                                                  E-mail: csmall@dslawpc.com
                                                  Rachel Garza
                                                  Texas State Bar No. 24125240
                                                  E-mail: rgarza@dslawpc.com
                                                  719 S. Flores Street
                                                  San Antonio, Texas 78204
                                                  Tel: (210) 853-5882

                                               3
Case 5:24-cv-00717-OLG-HJB   Document 51    Filed 02/25/25     Page 4 of 5




                                     Fax: (210) 200-8395

                                     Attorneys for Defendants Stephen Findeisen
                                     and Coffee Break Productions, LLC




                                 4
    Case 5:24-cv-00717-OLG-HJB           Document 51       Filed 02/25/25     Page 5 of 5




                           CERTIFICATE OF CONFERENCE


        I certify that on February 25, 2025, I conferred with counsel for Logan Paul regarding
the relief requested in this motion for expedited hearing. Counsel for Logan Paul has indicated
that they are opposed to this motion.

                                                   By: /s/Caroline Newman Small
                                                      Caroline Newman Small


                               CERTIFICATE OF SERVICE

       I certify that on February 25, 2025, the foregoing document was electronically filed
with the Clerk of the Court using the CM/ECF system and all counsel of record will receive
an electronic copy via the Court’s CM/ECF system.

                                                   By: /s/Caroline Newman Small
                                                      Caroline Newman Small




                                              5
